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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

MARTIN J. WALSH,                   )
SECRETARY OF LABOR,                )
UNITED STATES DEPARTMENT OF LABOR, )
                                   )
      Plaintiff,                   )
                                   )
      v.                           ) Civil Action No. 1:22-cv-803
                                   )
SERENITY HOME HEALTHCARE, LLC;     )
SERENITY HOME HEALTHCARE – NORFOLK,)
LLC; SERENITY HOME HEALTHCARE –    )
WARRENTON, LLC;                    )
SERENITY HOME HEALTHCARE –         )
STERLING, LLC;                     )
HILDIGARD NANA OFORI, and          )
ARAFAT SHEIKHADAM,                 )
                                   )
      Defendants.                  )
                                   )

           MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL
               DISCOVERY RESPONSES AND OVERRULE OBJECTIONS

           Plaintiff requests the Court compel the Defendants to provide full and complete written

    responses and produce all responsive documents to Plaintiff’s Document Requests and

    Interrogatories. 1 On October 19, 2022, Plaintiff propounded discovery requests on Defendants;
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    however, to date, Defendants have failed to provide a number of responsive documents,

    including but not limited to, company memoranda related to the compensation policies at issue

    which Defendants identified during their recent depositions. These documents were requested in

    Plaintiff’s Document Requests and are directly at issue in this matter; however, Defendants

    continue to withhold from their production. Additionally, Defendants’ written discovery


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  CERTIFICATION: Pursuant to Federal Rule of Civil Procedure 37(a)(1) and Local Rule 37(E),
counsel for Plaintiff conferred with Defendants’ counsel multiple times via telephone, email, in
writing, and in-person, in a good faith effort to resolve the discovery matters that are the subject of
this motion
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 responses to Plaintiff’s First Set of Interrogatories Numbers 20-25, which relate to Defendants’

 affirmative defense that they relied on the advice of counsel in their implementation of the

 unlawful compensation policies at issue, are unresponsive and incomplete as Defendants have

 failed to provide any information or documentation concerning the alleged attorney

 consultations.

        During the parties’ efforts to resolve this discovery issue prior to filing this Motion,

 Defendants have not relied on any objections for their failure to fully and completely respond to

 Plaintiff’s discovery requests. However, to the extent Defendants are withholding the requested

 discovery based on any previously asserted objections, the objections are without merit and

 should be overruled.

        Plaintiff’s many attempts to resolve the discovery issues without court intervention, as

 described below, have not resulted in Defendants’ production of all the responsive documents or

 full and complete interrogatory responses. In light of the discovery cut-off date of February 10,

 2023, Plaintiff respectfully requests that the Court grant his motion to compel and order

 Defendants to provide all responsive information and documents within seven (7) days from the

 date of the hearing on this Motion.

   I.     Factual History

        On July 15, 2022, Plaintiff filed a complaint alleging Defendants violated Sections 7, 11,

 and 15 of the Fair Labor Standards Act (“FLSA” or “Act”). See ECF No. 1. Specifically, the

 Complaint alleges Defendants failed to pay the overtime premium to their employees for hours

 worked over forty (40) in a workweek. Id., ¶ 12. In addition, Defendants failed to maintain and

 preserve adequate records of their employees’ wages, hours, and other conditions of

 employment. Id., ¶ 13.

         On October 19, 2022, Plaintiff propounded written discovery on all Defendants. It

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 included Plaintiff’s First Set of Interrogatories, First Requests for Admissions, and First

 Requests for Production of Documents (“Plaintiff’s Discovery Requests”). See Ex. 1, Plaintiff’s

 Discovery Requests. Defendants provided objections to Plaintiff’s Discovery Requests on

 November 4, 2022, and their discovery responses were due on November 18, 2022. On

 November 16, 2022, Defendants requested a one-week extension to provide their discovery

 responses, and Plaintiff agreed. On November 28, 2022, Plaintiff received Defendants’ written

 responses to the Interrogatories and Request for Production, but Defendants failed to provide

 any documents with their responses. See Ex. 2, Defendants’ Responses to Plaintiff’s First Set of

 Interrogatories; Ex. 3, Defendants’ Responses to Plaintiff’s First Request for Production of

 Documents. On November 29, 2022, Plaintiff sent Defendants’ counsel an email, noting that

 Defendants failed to produce all documents and any privilege log with their production. See Ex.

 4, Plaintiff’s Correspondence dated November 29, 2022.

        Due to the patent insufficiency of Defendants’ November 28th discovery responses, the

 complete lack of any document production, and the improper objections to certain discovery

 requests, Plaintiff’s counsel engaged in substantial efforts to meet and confer with Defendants’

 counsel in order to resolve Defendants’ discovery response deficiencies. On November 30,

 2022, pursuant to Local Civil Rule 37(E), the undersigned sent a letter addressing Defendants’

 objections. See Ex. 5, Plaintiff’s Letter dated November 30, 2022. In response to Plaintiff’s

 letter, Defendants sent their privilege log, and stated that they intended to provide their

 document production by December 2, 2022. See Ex. 6, Defendants’ Correspondence dated

 November 30, 2022. On December 2, 2022, rather than provide a document production,

 Defendants’ counsel emailed Plaintiff stating that they intended to produce “some plans of care

 and company tax documents,” but stated there would be a “rolling production.” See Ex. 7,

 Defendants’ Correspondence dated December 2, 2022.

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            Given the discovery deadline, the upcoming depositions, and Defendants’ failure to

    produce basic documentation which required little effort by Defendants to produce (e.g.,

    electronic payroll register records), Plaintiff objected to Defendants’ rolling production and

    reiterated a request for a meet and confer conference. See Ex. 8, Plaintiff’s Correspondence

    dated December 3, 2022. Thereafter, Defendants produced tax returns for Serenity Home

    Healthcare, LLC for years 2019 - 2022, and plans of care for certain clients, without identifying

    the discovery request(s) for which Defendants were producing the plans of care. On December

    5, 2022, Plaintiff sent a second letter, detailing the continued insufficiency of Defendants’

    discovery responses and document production. See Ex. 9, Plaintiff’s Letter dated December 5,

    2022. On December 6, 2022, the parties discussed each deficiency related to the interrogatory

    responses and the production of documents via telephone. Defendants’ counsel agreed to

    supplement the interrogatory responses and produce additional discovery by Friday, December

    9, 2022.

            On December 9, 2022, Defendants supplemented their responses to the interrogatories,

    but this response still failed to correct most of the deficiencies identified by Plaintiff in the

    detailed letters to Defendants (i.e., Defendants only cited to statutes or agencies in charge of

    governing Medicaid or FLSA, instead of actually answering questions about their own policies

    and procedures). 2 See Ex. 10, Defendants’ Supplemental Responses. Defendants also produced
                     1F




    certain documents, but their production was severely lacking (e.g., Defendants failed to produce,

    among other things, all 2019 payroll register records, any company memoranda related to the

    compensation policies or practices at issue, an organizational chart, tax returns for other Serenity

    entities and named Defendants). Defendants also failed to update their written responses to


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 In providing supplemental responses to the interrogatories, Defendants also failed to comply with
Federal Rules of Civil Procedure 33, which requires each interrogatory to be answered under oath
and signed by the party. Fed. R. Civ. P. 33(b)(1)-(2).
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 identify by bates number(s) the documents produced in response to each request.

        Between December 12, 2022 and December 15, 2022, Plaintiff conducted corporate and

 individual depositions, during which Plaintiff learned that most of the documents Plaintiff

 requested in his Request for Production of Documents exist, but they had not been provided to

 Plaintiff and/or Defendants had not even searched for the responsive records. Given the

 deficiencies in Defendants’ production despite repeated assurances that the responsive

 documents would be produced before the scheduled depositions, the depositions were not

 completed and remain open until all documents have been provided and Plaintiff has reviewed

 the additional documents to determine if further questioning may be necessary. On December

 13, 2022, Plaintiff held another meet and confer with Defendants in person. Thereafter, on

 December 15, 2022, Plaintiff and Defendants further discussed the Defendants’ discovery

 deficiencies via telephone. During the December 15th call, Defendants agreed to provide all

 responsive documents to Plaintiff by December 20, 2022. See Ex. 11, Plaintiff’s Correspondence

 dated December 19, 2022.

        Between December 20 and December 23, Defendants produced, among other documents;

 2019 payroll registers (but the January 2019 payroll register is still missing); an operating

 agreement (but the agreement is for a separate entity that is not a party to this matter); two years

 of tax returns for Defendant Arafat Sheikhadam, with all schedules and the third year still

 missing; and names of employees who allegedly have a “familial relationship” with Defendants’

 clients in support of Defendants’ Fourth Affirmative Defense (ECF No. 14, Answer) (but

 without providing any other information about the nature of the “familial relationship” or

 producing any documents concerning this relationship).

        Discovery has been pending in this case for nearly seventy (70) days. Plaintiff provided

 Defendants many opportunities to cure the deficiencies in their document production and

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 responses, but Defendants’ responses remain substantially deficient as set forth in detail below.

   II.       Standard of Review

          A party may move for an order compelling discovery after providing notice to the relevant

parties. Fed. R. Civ. P. 37(a)(1). “A party seeking discovery may move for an order compelling an

answer, designation, production, or inspection. The motion may be made if: … (iii) a party fails to

answer an interrogatory submitted under Rule 33; or (iv) a party fails to produce documents or fails

to respond that inspection will be permitted—or fails to permit inspection—as requested under Rule

34.” Fed. R. Civ. P. 37(a)(3)(B). Further, “an evasive or incomplete disclosure, answer, or response

must be treated as a failure to disclose, answer, or respond.” Fed. R. Civ. P. 37(a)(4). Additionally,

Fed. R. Civ. P. 26(e) requires Defendants to supplement their disclosures and responses “in a timely

manner if the party learns that in some material respect the disclosure or response is incomplete or

incorrect…” See Fed. R. Civ. P. 26(e)(1)(A). Accordingly, any party who fails to respond to

discovery fully and supplement such responses, may be compelled by the Court to respond fully to

that discovery.

   III.      Argument

             A. The Court Should Order Defendants to Produce all Responsive Documents to
                Plaintiff’s Document Requests

                        1. Defendants’ responses and document production are deficient and
                           incomplete.

          Plaintiff’s Discovery Requests were propounded over two months ago; however,

deficiencies still exist as to Defendants’ responses to Plaintiff’s First Request for Production of

Documents and Request for Interrogatories. In particular, based on the deposition testimony and

other information learned in this matter, the following documents exist but have yet to be provided

to Plaintiff: January 2019 payroll records for all entities, including the payroll register records; all

employee timesheets for the relevant time period; Defendants’ complete policy and procedures

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manual; memoranda to employees concerning hiring and termination procedures; memoranda to

employees concerning overtime; documents and information concerning the alleged familial

relationship between Defendants’ clients and their employees; and, all documents referenced in

Defendants’ responses to the interrogatories. See Ex. 1, Plaintiff’s First Request for Production of

Documents, Numbers 1 (all documents identified in response to Plaintiff’s Interrogatories), 2 (all

documents showing the hours worked by employees), 4 (all policy memoranda…concerning

Defendants’ pay policies), 11 (all documents that contain information upon which Defendants relied

in asserting in their Answer that there is a “familial relationship” between the employees and

Defendants’ clients), and 15 (all manuals, handbooks, memoranda…provided to Defendants’

employees.)

       In addition, Defendants failed to provide any documentation related to the attorneys or other

professionals that Defendants allegedly consulted, including the alleged attorney discussions

concerning Defendants’ overtime policies and practices on which Defendants rely in support of

their affirmative defenses in this matter. See ECF No. 14, Defendants’ Answer, ¶¶ 7-8; Ex. 1,

Plaintiff’s First Request for Production of Documents, Numbers 13 (all documents relied upon to

support Defendants’ defense that the FLSA violations were not willful), 14 (all documents related

to Defendants’ asserted good faith defense), and 25 (all documents relating to efforts made to

ensure compliance with the FLSA).

       Given Defendants failure to identify by bates numbers which documents requested in

Plaintiff’s Request for Production of Documents have been produced, Plaintiff cannot discern what

other documents exist which have also not been provided. Therefore, Plaintiff requests that the

Court order Defendants to provide all documents responsive to the Plaintiff’s Document Requests

and supplement its document request written responses to identify by bates numbers the documents

produced for each request.

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                       2. Defendants’ objections to Plaintiff’s Document Requests are without
                          merit.

       To the extent that Defendants rely on previously asserted objections for the withholding of

the responsive documents, their objections should be overruled. Defendants asserted and reiterated

during numerous phone calls with Plaintiff that several of the Plaintiff’s Discovery Requests were

“irrelevant” without further explanation. Merely characterizing a discovery request as “irrelevant”

will not satisfy the opposing party’s burden of showing with specificity why a request is

objectionable. “Relevance objections are not ‘general objections’ but are rather thoroughly-

explained ‘common specific objections’ that apply only to several specifically identified discovery

requests.” Spendlove v. RapidCourt, LLC, No. 3:18-CV-856, 2019 WL 7143664, at *4 (E.D. Va.

Dec. 23, 2019) (internal citations omitted). For a relevance objection to be adequate,

“it must be ‘plain enough and specific enough so that the court can understand in what way the

interrogatories [or document requests] are alleged to be objectionable.’” Id. The mere fact that

responding to a discovery request will require the objecting party “to expend considerable time,

effort and expense consulting, reviewing and analyzing ‘huge volumes of documents and

information’ is an insufficient basis to object” to a relevant discovery request. Burns v. Imagine

Films Entertainment, Inc., 164 F.R.D. 589, 593 (W.D.N.Y. 1996).

       Defendants unilaterally decided that they will produce documents in response to Plaintiff’s

Discovery Requests on a “rolling basis,” and failed to identify by bates number which documents

requested in Plaintiff’s Request for Production of Documents have been produced. While each party

has a duty to supplement responses during discovery pursuant to Rule 26(e) upon learning that a

response is incomplete, Defendants admitted they belatedly considered Plaintiff’s Discovery

Requests and have not searched for all the responsive documents. Defendants’ counsel relayed that

Defendants are a “two-women” shop, and it is burdensome on them to gather the requested,


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responsive documents. See Ex. 7, Defendants’ correspondence dated December 2, 2022. However,

the Plaintiff’s Discovery Requests and the burden of providing responsive documents and

information is proportional to the needs of this case, and the Discovery Requests are reasonable and

relevant to the claims and defenses. Thus, Defendants’ objections should be overruled, and

Defendants must produce all remaining responsive documents, and identify by bates numbers the

responsive requests to which documents have been produced to date.

           B. The Court Should Order Defendants to Provide Full and Complete Responses
              to Plaintiff’s Interrogatories Regarding Defendants’ Reliance on the Alleged
              Advice of Counsel for their Compensation Policies at Issue

       Plaintiff’s Interrogatory Numbers 20-25 request factual information about Defendants’

affirmative defenses and their compensation policies. See Ex. 1, Plaintiff’s Discovery Requests. In

response to the interrogatories, Defendants asserted they relied upon advice of counsel and other

professionals for the illegal pay practices at issue. Defendants reiterated their reliance on counsel

and other professionals during depositions in this matter. However, to date, Defendants have failed

to identify these attorneys or other professionals in their interrogatory responses, nor have they

identified or produced documents related to the alleged advice they received prior to violating the

law. Importantly, the advice-of-counsel defense requires proof that Defendants relied on advice they

actually received. Plaintiff’s interrogatories request information about the names of the attorneys

and professionals and the advice received; however, Defendants continue to fail to provide it.

                       1. Defendants’ responses to Plaintiff’s Interrogatory Numbers 20-25 are
                          deficient.

       Plaintiff’s Interrogatories 20-25 inquire about the following: (1) Defendants’ affirmative

defense that their failure to pay overtime was not willful, ECF No. 14 (Sixth Affirmative Defense),

(2) Defendants’ affirmative defense that any alleged acts or omissions by Defendants were in good

faith, ECF No. 14 (Seventh Affirmative Defense), (3) any steps taken by Defendants to determine if


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their compensation policies complied with the Fair Labor Standards Act, including any

conversations with third parties, and (4) the methods by which Defendants familiarized themselves

with FLSA and incorporated it into their company’s policies for timekeeping and remuneration.

       To each of these interrogatories, Defendants stated in their supplemental response that they

consulted “with other members of the homecare industry and consulted with counsel who advised

Defendants about complying with the Act.” Ex. 10, Defendants’ Supplemental Responses.

However, to date, Defendants have not identified the individuals they spoke to, the content to any

such alleged conversation, and the timeframe for any such alleged conversation. Defendants must

fully respond to these interrogatories and attest to the truthfulness of all supplemental responses, as

required by Fed. R. Civ. P. 33(b)(1)-(2).

                       2. Defendants affirmatively rely on certain attorney-client communications
                          for their defenses in this matter; therefore, the privilege is waived.

         In addition to the insufficiencies identified above, Defendants objected to Interrogatory

 No. 24 on the basis of attorney-client privilege. See Ex. 2, Defendants’ Responses to Plaintiff’s

 First Set of Interrogatories. However, the extent to which any communication or document is

 privileged must be determined on an individual case-by-case basis and cannot be based on a

 blanket assertion by the party claiming the privilege. The burden is on the party claiming the

 privilege to present the underlying circumstances or facts demonstrating the existence of the

 privilege to the court and must “supply opposing counsel with sufficient information to assess

 the applicability of the privilege. . ..”. See Cappetta v. GC Services Ltd. Partnership, 2008 WL

 5377934 *4 (E.D. Va. 2008) (quoting Burns v. Imagine Films Entertainment, Inc., 164 F.R.D.

 589, 593-94 (W.D.N.Y. 1996)) (holding that a party asserting privilege must expressly make the

 claim and describe the nature of documents not produced, without revealing privileged

 information.)


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       Defendants failed to identify any documents on their privilege log in response to

Interrogatory Number 24. Moreover, Defendants specifically asserted their reliance on the advice of

counsel for their affirmative defenses in this matter. ECF No. 14, Answer. By relying on attorney-

client communications to support their defenses, Defendants put those communications at issue. See

Ex. 12; see also Scalia v. Medical Staffing of America, LLC et al., 2:18-cv00226-RAJ-LRL, at * 9

[ECF No. 227] (April 8, 2020) (holding that when defendants deliberately injected advice of

counsel into the litigation by asserting it as an affirmative defense, they impliedly waived the

attorney-client privilege with respect to the advice they received from their attorney and the

information provided to attorney upon which the advice was based). Thus, any attorney-client

privilege with respect to these communications is waived and the documentation should be

produced.

            C. Plaintiff is Prejudiced by Defendants’ Withholding of Documents.

       Defendants’ failure to produce responsive documents has severely prejudiced Plaintiff’s

ability to effectively litigate this matter. This case involves over $294,205.41 in back wages and an

equal amount in liquidated damages due to at least ninety-two (92) employees. The aforementioned

amount only accounts for two years of back wages because of Defendants’ refusal to provide

payroll records for the third year, 2019. Although Defendants finally produced 2019 payroll records

on December 23, 2022, some of the records continue to be missing. This deficiency prevents

Plaintiff from calculating a third year of back wages or identifying additional individuals who may

be owed back wages because of Defendants’ FLSA violations.

       In addition, Defendants have failed to list most of the documents it has withheld in a

privilege log, identify responsive documents by bates number in their responses, or apprise Plaintiff

whether responsive documents exist for several of Plaintiff’s requests. These failures prevent

Plaintiff from measuring the full extent of Defendants’ FLSA violations. The timeframe for

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discovery in this case was a little over three months, and Defendants have already squandered two

months with unnecessary delays. Defendants continue to engage in delay tactics. In light of

Defendants’ refusals to cooperate in the discovery process, and the near certainty that there will be

no further change without Court intervention, Plaintiff respectfully requests an order compelling

Defendants to comply with their duties under Fed. R. Civ. P. 33 and 34.

   IV.     CONCLUSION

         Defendants have yet to take the necessary time and effort to provide full and complete

 discovery responses, including the production of documents identified by Defendants during

 their depositions. Discovery closes on February 10, 2023, and thus, Plaintiff respectfully

 requests the Court grant this motion to compel responses and order Defendants to produce all

 requested documents and provide full and complete responses to the interrogatories at issue

 within seven days of any order granting this Motion.



                                                       Respectfully Submitted,

                                                       U.S. DEPARTMENT OF LABOR
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                                                      Trial Attorney
                                                      VA State Bar # 84424

                                                      /s/ Aditi Kumar
                                                      Aditi Kumar
                                                      Trial Attorney
                                                      NY Bar # 5771928
                                                      Admitted Pro hac vice

                                                      Attorneys for Plaintiff



Date: December 30, 2022


                                 CERTIFICATE OF SERVICE

       I certify that on December 30, 2022, a true and correct copy of the forgoing Plaintiff’s

Motion to Compel Discovery Responses and Overrule Objections was electronically filed with the

Clerk of Court using the CM/ECF system, which will automatically notify Defendants by

electronically serving a copy to Defendants’ counsel:

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